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IN T:~m uNITED sTATEs DISTRICT coURT men By g D-C-
FoR THE wEsTERN DISTRICT oF TENNESSEE 05 AUG
wEsTERN DJ:vIs:coN 22 PH l»= 38
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UNITED STATES oF AMERICA, W/DGF*"-‘ ?M’-=tv-‘FHS

Plaintiff,
vs. CR. NO. 05-20161-Ma

WILLIAM THOMAS CARVER,

-/-_/V\-._rv-_/VWV

Defendant.

 

ORDER ON CONTIN'UANCE AND SPECIFYING PERIOD OF EXCLU'DABLE DEL.AY

 

This cause came on for a report date on July 22, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning October 3, 2005 at 9:30 a.m., with a
report date of Friday, September 23, 2005 at 2:00 p.m.

The period from July 22, 2005 through October 14, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

'11.¢&

IT IS SO ORDERED this day of August, 2005.

Jd//‘K

SAMUEL H. MAYS, JR.
U`NITED S'I‘ATES DISTRIC'I‘ JUDGE

 

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This notice confirms a copy cf the document docketed as number 23 in
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Honcrable Samuel Mays
US DISTRICT COURT

